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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                  NO. 4:04CR00291-12 JLH

DAVID LYNN PORCH                                                                  DEFENDANT

                                           ORDER

       Pending before the Court is the government’s motion for revocation of defendant David

Lynn Porch’s supervised release. Document #1026. The government has also requested that a

summons be issued for defendant.

       IT IS HEREBY ORDERED that a hearing on the government’s motion to revoke is

scheduled to begin on TUESDAY, JUNE 10, 2014, at 2:45 P.M., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, to

show cause why defendant’s supervised release should not be revoked.

       The request for issuance of summons is granted. The Clerk of Court is directed to issue a

summons for defendant DAVID LYNN PORCH and deliver to the United States Marshal for

service.

       Assistant Federal Public Defender Justin Eisele is hereby appointed to represent defendant

during revocation proceedings.

       IT IS SO ORDERED this 21st day of May, 2014.



                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
